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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

     Ada MORALES,                                  )
                                                   )
     Plaintiff,                                    )
                                                   )
     v.                                            )
                                                   ) 1:12-cv-00301-M
     Bruce CHADBOURNE, et al.,                     )
                                                   )
     Defendants.                                   )

                         JOINT STIPULATION OF DISMISSAL
                    UNDER FEDERAL RULE OF CIVIL PROCEDURE 41

             The parties have taken action to resolve this case without the need for further

     judicial involvement.

             Accordingly, the parties jointly stipulate that the Court should dismiss this case

     without prejudice under Rule 41(a) of the Federal Rules of Civil Procedure.

             Each party agrees to pay its own fees and costs associated with this case.

     DATED: August 2, 2017                         Respectfully,

                                                   By: /s/ Mark A. Ford
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                                        and the United States of America
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                                  CERTIFICATE OF SERVICE
            I hereby certify that on August 2, 2017, I filed the foregoing with the Clerk of the
     United States District Court for the District of Rhode Island, using the CM/ECF system.


                                                          /s/ J. Max Weintraub
                                                          J. MAX WEINTRAUB
                                                          Senior Litigation Counsel
                                                          United States Department of Justice
                                                          Civil Division
